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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,

Plaintiff,
Vs. Case No.: 22-cr-00115-JFH-3

CONSENT TO PROCEED BEFORE
Jonna Elise Steele, A MAGISTRATE JUDGE FORA
CHANGE OF PLEA IN A FELONY
Defendant(s). CASE

A United States Magistrate Judge has explained to me the nature of the offense(s) with which I am
charged, including the maximum possible penalties which might be imposed if I am found guilty. A Magistrate
Judge has also informed me of my right to the assistance of legal counsel. A Magistrate Judge has further

informed me of my right to trial, judgment, and sentencing before a United States District Judge.

I hereby waive (give up) my right to trial before a United States District Judge, and consent to a
change of plea before a United States Magistrate Judge. | understand that I will be sentenced by a United
States District Judge.

ff
Date: 1/4/2023 Sours,

Joxvina Elise Steele, Defendant

Lp

Attomey for Defendant

Donald D. Bush, Magistrate Judge

Change Plea Magistrate Judge (8/2021)
